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          EXHIBIT A
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1
                         IN THE UNITED STATES DISTRICT COURT
2
                          NORTHERN DISTRICT OF CALIFORNIA
3
                                      OAKLAND DIVISION
4

5
     EPIC GAMES, INC.,                         )
6                                              )
                          Plaintiff            )
7              v.                              )         CASE NO.: 4:20-cv-05640-YGR
                                               )
8    APPLE INC.,                               )
9                                              )
                         Defendant             )
10                                             )
                                               )
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12
                   REBUTTAL EXPERT REPORT OF AVIEL D. RUBIN, PH.D.
13
                                        March 15, 2021
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14   VI.     SUMMARY OF PRINCIPAL CONCLUSIONS
15           A.    Apple’s brand and reputation are rooted in customer security, privacy, and reliability;
16                 commitment to that brand underlies every aspect of Apple’s business, including the
17                 iOS mobile operating system and the App Store.
18           B.    There are multiple ways of distributing apps on iOS. Public distribution such as
19                 distribution via the App Store undergoes a review process that is both automated and
20                 manual. There are significant security advantages attributable to the use of both
21                 automatic and manual review of apps distributed via the App Store.
22           C.    The App Store on iOS provides consumers and developers with a safer app
23                 distribution marketplace for mobile phone devices relative to other mobile app
24                 marketplaces.
25           D.    The security, privacy, and reliability of apps distributed via the App Store are superior
26                 to those of other mobile app distribution marketplaces, particularly that of Android.
27                 Apps distributed via the App Store are trusted to be safer and more reliable than apps
28                 distributed via Android marketplaces.


                                                      [5]
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1      E.    The consumer expectations regarding security, privacy and reliability for mobile
2            devices are significantly different from those expectations for desktop and laptop
3            computers. Apple has reasonably made the conscious decision to design its iOS
4            devices to meet these differing consumer expectations, resulting in a lower frequency
5            of cyberattacks against consumers and app developers.
6      F.    Using Apple’s unified In App Payment (“IAP”) mechanism is highly beneficial to user
7            security and privacy, as it ensures payment record traceability and safeguards user
8            data. Apple’s IAP system also contributes considerably to Apple’s ability to identify
9            fraud.
10     G.    Both Drs. Mickens and Lee take a narrow and limited approach to security that does
11           not accurately reflect the goals of the iOS ecosystem nor its operations. Both experts
12           cherry-pick datapoints and assume inaccurate facts to support their opinions,
13           including, for example, inaccurately characterizing (1) on-device security
14           mechanisms; (2) aspects of Apple’s Developer Enterprise Program; (3) the
15           translatability of macOS processes to iOS; and (4) users’ ability to detect risky apps.
16           They additionally overlook other aspects of Apple’s App Store review that enhances
17           the trustworthiness and safety of the platform.
18     H.    Drs. Mickens and Lee propose various hypothetical security recommendations that
19           would reduce the overall security and trustworthiness of the iOS platform. For
20           example, many third-party app stores will lack the resources and incentives to provide
21           security, privacy, and trustworthiness measures comparable to those of the App Store.
22           More lenient measures could be taken advantage of by malicious actors, which would
23           erode Apple’s ability to curate apps on the iOS platform to best maintain a safe and
24           trustworthy experience for its users and lead to an overall degradation of
25           trustworthiness, security, and stability of the iOS platform. This can be demonstrated
26           by, for example, a case study of the various security and privacy issues that have
27           arisen as a result of the proliferation of third-party Android app distribution stores in
28           China.


                                                 [6]
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1      I.    The risk of compromise of the security, privacy, and trustworthiness of the iOS
2            platform would be heightened by the imposition of various potential prohibitions upon
3            Apple. Various of Drs. Mickens and Lee’s proposals appear to assume that Apple
4            would maintain the ability to warn users about security risks associated with third-
5            party stores or push out iOS updates, for example; if Apple were prevented from
6            taking such security actions, the opinions of Epic’s experts would be further
7            undermined.
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